UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                               Chapter 11

    THE ROMAN CATHOLIC DIOCESE OF                                        Case No. 20-12345 (SCC)
    ROCKVILLE CENTRE, NEW YORK,1
                        Debtor.


    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK,

                                     Plaintiff,                          Adv. Pro. No. 20-01226

    v.

    Ark320 Doe, et al.,2
                                     Defendants.

     STIPULATED SCHEDULING ORDER WITH RESPECT TO DEBTOR’S MOTION
     FOR PRELIMINARY INJUNCTION UNDER SECTIONS 362 AND 105(a) OF THE
                          BANKRUPTCY CODE

             The Court, having considered the joint request of The Roman Catholic Diocese of

Rockville Centre, New York, (the “Debtor”), on the one hand, and the Official Committee of

Unsecured Creditors (“Committee” and together with the Debtor, the “Parties”), on the other hand,

to enter the scheduling order reflected herein with respect to the Debtor’s Motion for Preliminary

Injunction Under Sections 362 and 105(a) of the Bankruptcy Code [Docket No. 126] (the

“Motion”); and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, the Court finds that good and sufficient cause exists to enter this Scheduling Order.

Therefore, it is hereby ORDERED:


1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is P.O. Box 9023, Rockville Centre,
NY 11571-9023.
2
  A full list of the Defendants in this adversary proceeding is included in Exhibit A to the Verified Complaint for
Declaratory and Injunctive Relief [Adv. Pro. Docket No. 1].



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        1.      The Parties anticipate that an evidentiary hearing on the Motion will be set for the

week of April 3, 2023 or as soon thereafter as the Court deems appropriate. Unless the Court

determines otherwise, the hearing will be conducted as a hybrid hearing and the parties and

witnesses may appear in person or by Zoom.

        2.       Requests for written discovery shall be served on or before January 18, 2023,

unless otherwise agreed in writing by the Parties.

        3.      Reponses and/or objections to written discovery shall be served on or before

February 1, 2023, unless otherwise agreed in writing by the Parties.

        4.      All responsive, non-privileged documents shall be produced on or before February

1, 2023, unless otherwise agreed in writing by the Parties.

        5.      The Parties shall identify the fact witness they intend to call at the hearing on or

before February 1, 2023.

        6.      Depositions of fact witnesses shall be scheduled and concluded on or before March

3, 2023, unless otherwise agreed in writing by the Parties.

        7.       The Parties agree that neither evidence of claim values, nor expert testimony shall

be introduced at the hearing.

        8.      Subject to the Court’s approval, the Parties agree that (a) the Committee’s

Opposition to the Debtor’s Motion may exceed 25 pages in length, but must not exceed 50 pages,

and (b) the Diocese’s Reply may exceed 10 pages in length, but must not exceed 20 pages.

        9.      The Committee’s Opposition to the Debtor’s Motion shall be filed on or before

March 10, 2023, unless otherwise agreed in writing by the Parties.

        10.     The Debtor’s Reply shall be filed on or before March 24, 2023, unless otherwise

agreed in writing by the Parties.




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        11.      Declarations setting forth the direct testimony of witnesses and all referenced

exhibits will be filed on the docket and served on or before March 27, 2023, unless otherwise

agreed in writing by the Parties. For the avoidance of doubt, a declaration must be filed for any

witness offering direct testimony whether or not that witness has submitted a prior declaration in

support of or in opposition to the Motion.

        12.     Any pre-hearing motions, including motions in limine shall be filed by March 31,

2023.

        13.     Unless otherwise stated, all deadlines set forth above are effective as of 5:00 p.m.

(Eastern Time) on each applicable date.

        14.     For purposes of the Motion, the Parties have agreed to certain facts relating to

insurance coverage (“Agreed Coverage Summary”). The Agreed Coverage Summary contains

confidential information about individual proofs of claim and associated state court complaints

and, therefore, will be filed separately under seal as soon as practicable upon the joint request of

the Parties. The Agreed Coverage Summary is subject to qualifications as stated therein.

        15.     By letter dated September 1, 2022, counsel for the Diocese submitted the Agreed

Coverage Summary to the Court, requesting permission on behalf of both the Diocese and the

Committee to file certain portions of such summary under seal pursuant to Bankruptcy Code

section 107(b) and Federal Rule of Bankruptcy Procedure 9018. That request was mooted by the

parties’ stipulation extending the preliminary injunction, dated September 12, 2022 [Adv. Docket

No. 141]. The Diocese shall re-file the Agreed Coverage Summary on or before February 1, 2023,

ensuring that a redacted version is publicly available on the docket and an unredacted version is

available to (i) the Court, (ii) the Debtor, (iii) the Committee, and (iv) upon request, other

Authorized Parties, as that term is defined in the Order Establishing Deadlines for Filing Proofs of




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Claim and Approving the Form and Manner of Notice Thereof, dated January 27, 2021 [Docket

No. 333], subject to the limitations of their authorization, as set forth therein.

        16.     This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

                                    # # # END OF ORDER # # #




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Submitted by:


/s/ Karen B. Dine
Karen B. Dine
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017-2024
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
kdine@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors



Approved by:



By: /s/ Eric P. Stephens                              By: /s/ Kenneth H. Brown

  Eric P. Stephens                                     Kenneth H. Brown
  JONES DAY                                            PACHULSKI STANG ZIEHL & JONES LLP
  250 Vesey Street                                     780 Third Avenue, 34th Floor
  New York, New York 10281-1047                        New York, NY 10017-2024
  Telephone: (212) 326-3916                            Telephone: (212) 561-7700
  Fax: (212) 755-7306                                  Facsimile: (212) 561-7777
  epstephens@jonesday.com                              kbrown@pszjlaw.com

  Counsel to The Roman Catholic Diocese of             Counsel to the Official Committee of
  Rockville Centre, New York                           Unsecured Creditors




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